Case 6:22-cv-00566-RRS-CBW Document 4 Filed 03/04/22 Page 1 of 2 PageID #: 66




                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                    LAFAYETTE DIVISION

 IN THE MATTER OF BULLY 1                                  CIVIL ACTION
 (SWITZERLAND) GMBH, AS OWNER,
 AND NOBLE DRILLING (U.S.) LLC, AS                         NO.:
 OWNER PRO HAC VICE, OF THE
 GLOBETROTTER II                                           DISTRICT JUDGE

                                                           MAGISTRATE JUDGE


                   NOTICE TO CLAIMANTS OF COMPLAINT FOR
                EXONERATION FROM OR LIMITATION OF LIABILITY

       Notice is given that Bully 1 (Switzerland) GmbH (hereinafter referred to as “Bully 1”), as Owner,

and Noble Drilling (U.S.) LLC (hereinafter referred to as “Noble Drilling”), as Owner Pro Hac

Vice, of the GLOBETROTTER II (collectively referred to as “Petitioners”) have filed a Complaint,

claiming the right to limitation of and/or exoneration from liability for all claims arising out of the

voyage on which the GLOBETROTTER II was engaged on or about August 29, 2021, in the Gulf

of Mexico off of the Louisiana Coast.

       All persons having such claims must file them as provided in Rule F of the Supplemental

Rules for Certain Admiralty and Maritime Claims, Federal Rule of Civil Procedure, with the Clerk

of Court, U.S. District Court, Western District of Louisiana, Lafayette Division, 800 Lafayette St.,

Suite 1200, Lafayette, Louisiana 70501, and serve on or mail to the attorneys for Petitioners,

Timothy W. Strickland and Stacey T. Norstrud, of Kean Miller LLP, 711 Louisiana St., Suite 1800

Houston, Texas 77002; Robert M. Kallam and Taylor Ashworth, of Kean Miller LLP, 600

Jefferson St., Suite 1101, Lafayette, Louisiana 70501; and Bradley J. Schlotterer and Sean T.

McLaughlin, of Kean Miller LLP, 909 Poydras, Suite 3600, New Orleans, Louisiana 70112, copies
Case 6:22-cv-00566-RRS-CBW Document 4 Filed 03/04/22 Page 2 of 2 PageID #: 67




thereof, on or before the ___14th____ day of _____April__________________, 2022, or be

defaulted. Personal attendance is not required.

       Any claimant desiring to contest either the right of petitioners to limitation of and/or

exoneration from liability must file an Answer to said Complaint as required by the aforesaid

Supplemental Rule F and serve on or mail to the Petitioners’ attorneys, a copy, unless the claim

has included an Answer.

       Lafayette, Louisiana, this __4th_____ day of __________March_____________ 2022.



                                             ______________________________________
                                               Deputy Clerk of Court




                                                  2
